IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF SOUTH CAROLINA
BEAUFORT DIVISION

FedNat Insurance Company,
Civil Action No. 9:21-cv-01602-RMG

Plaintiff,
vs.

Jenifer Gajdalo and Elizabeth Kulka,

Defendants.
PROOF OF SERVICE

 

Elizabeth Kulka,
Third-Party Plaintiff,
Vs.

Belmont Insurance Services, LLC,
and Kathy Kinard,

Third-Party Defendants.

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Attached hereto is proof of service of the Answer, Counterclaims and Third-Party
Complaint in the above-captioned action upon Stephen S. Bird, Esquire, registered agent for
service for Belmont Insurance Services, LLC, by certified mail, return receipt requested,
restricted delivery, on the 16th day of August, 2021.

AKINS LAW FIRM, LLC

aren White K.
Paralegal to Dale Akins

Post Office Box 1547
Bluffton, South Carolina 29910
Telephone: (843)757-7574

Bluffton, South Carolina
August 31, 2021

 
 
  

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